                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION
                              Case No. 5:19-cv-00475-BO

JASON WILLIAMS,                                  MOTION TO WITHDRAW AS
                Plaintiff,                       COUNSEL
         v.

AT&T MOBILITY, LLC,
                Defendant.


        Now comes Patrick A. Bradford, Esq., an attorney with the law firm of Pierce Bainbridge

Beck Price & Hecht LLP, and hereby moves to withdraw as counsel for the plaintiff in this action.

No scheduled hearing or trial will be delayed by the withdrawal of Mr. Bradford.

        After April 16, 2020, Mr. Bradford will no longer be associated with Pierce Bainbridge Beck

Price & Hecht LLP. Notwithstanding Mr. Bradford’s departure, Christopher LaVigne and William

Geraci of the law firm of Pierce Bainbridge Beck Price & Hecht LLP, will continue to represent the

plaintiff in this action, and Terence S. Reynolds and Lucas D. Garber of the law firm of Shumaker

Loop & Kendrick LLP, shall continue to serve as Local Civil Rule 83.1 Counsel for the plaintiff in

this action.

        Accordingly, Patrick A. Bradford respectfully requests that the Court grant his leave to

withdraw as counsel and grant such other relief as the Court deems appropriate. Counsel for the

defendant has consented to this motion.

        [Signature Page Follows]




          Case 5:19-cv-00475-BO           Document 36    Filed 04/16/20     Page 1 of 3
                           /s/ Patrick A. Bradford
                           Patrick A. Bradford
                           PIERCE BAINBRIDGE BECK PRICE
                           & HECHT LLP
                           277 Park Avenue, 45th Floor
                           New York, NY 100172
                           Telephone: (212) 484-9866
                           Facsimile: (646) 968-4125
                           pbradford@piercebainbridge.com
                           State Bar No. NY 2338465

                           Attorney for Plaintiff Jason Williams

                           /s/ Terence S. Reynolds
                           Terence S. Reynolds
                           SHUMAKER LOOP & KENDRICK LLP
                           101 South Tyron Street
                           Suite 2200
                           Charlotte, North Carolina 28280
                           Telephone: (704) 375-0057
                           Facsimile: (704) 332-1197
                           treynolds@shumaker.com
                           State Bar No. 49848

                           Local Civil Rule 83.1(d) Counsel for Plaintiff Jason
                           Williams




Case 5:19-cv-00475-BO   Document 36     Filed 04/16/20     Page 2 of 3
                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, April 16, 2020, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

KILPATRICK TOWNSEND & STOCKTON LLP
Joseph S. Dowdy
4208 Six Forks Road, Suite 1400
Raleigh, NC 27609
Tel: (919) 420-1718
Fax: (919) 510-6120
jdowdy@ kilpatricktownsend.com

Counsel for Defendant AT&T Mobility, LLC


Dated: April 16, 2020

                                                  /s/ Terence S. Reynolds
                                                  Terence S. Reynolds
                                                  SHUMAKER LOOP & KENDRICK LLP
                                                  101 South Tyron Street
                                                  Suite 2200
                                                  Charlotte, North Carolina 28280
                                                  Telephone: (704) 375-0057
                                                  Facsimile: (704) 332-1197
                                                  treynolds@shumaker.com
                                                  State Bar No. 49848

                                                  Local Civil Rule 83.1(d) Counsel for Plaintiff
                                                  Jason Williams




        Case 5:19-cv-00475-BO          Document 36         Filed 04/16/20      Page 3 of 3
